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                                                                             Order Filed on April 8, 2024
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                                                                             U.S. Bankruptcy Court
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     UNITED STATES BANKRUPTCY COURT
      FOR THE DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004--1
                                                     Chapter 11
 In re:
                                                     Case No. 24-12086 (MBK)
 14 VESEY PARTNERS (DEL) LLC,
                                                     Judge Michael B. Kaplan
                                          Debtor.

                                                     Chapter 11
 In re:
                                                     Case No. 24-12087 (MBK)
 JTRE 14 VESEY LLC,
                                                     Judge Michael B. Kaplan
                                         Debtor.




                    ORDER DIRECTING MEDIATION AND ITS PROCEDURES

               1.      The purpose of the Mediation is to facilitate arm’s-length

negotiations. The Mediation shall be considered a settlement negotiation for the

purpose of all Federal and State rules protecting disclosures made during such

conferences from later discovery or use in evidence. The entire procedure shall be

confidential, and no stenographic or other record shall be made except to memorialize

a settlement agreement.

               2.      The Mediation Parties and their respective counsel and advisors

shall participate in the Mediation in good faith with the goal of reaching a consensual

resolution of their disputes.
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              3.     Effective immediately, the Court authorizes and appoints Albert

Togut to serve as mediator (“Mediator”) in these Chapter 11 Cases to conduct the

mediation (the “Mediation”). The Mediator is authorized to use his law firm of Togut,

Segal & Segal LLP to assist him. The Mediator and Togut, Segal & Segal LLP are

directed to file Declarations of disinterestedness.

              4.     The Mediator may conduct the Mediation as he sees fit, establish

rules and procedures of the Mediation, and consider and take appropriate action

pertaining to matters, such as the following, which the Mediator deems appropriate:

                     x   The Mediator shall have discretion over whether position

                         statements are required from the Parties (“Position Statements”),

                         whether those Position Statements are for the Mediator’s eyes

                         only or can be shared with the other Mediation Parties, and the

                         page limitations, if any, of Position Statements. The Mediator

                         may also require the Parties to provide to the Mediator any

                         relevant papers and exhibits as well as a settlement proposal,

                         which shall be confidential between the submitting party and

                         the Mediator unless the submitting party otherwise agrees, or

                         unless so directed by the Mediator or ordered by this Court.

                     x   The Mediator has authority to establish timing of the Mediation,

                         including contact procedures.


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                    x   The Mediator shall conduct such meetings as she/he deems

                        necessary and advisable by phone, video, in person or any

                        combination thereof, at her/his sole discretion.

                    x   The Mediator has authority to establish a deadline for the

                        parties to act upon a proposed settlement or upon a settlement

                        recommendation from the Mediator.

             5.     The Mediator and his professionals shall be entitled to

compensation, as well as reimbursement for reasonable costs, without need for further

order of this Court. The costs of the Mediator and his professionals will be paid by

equally by the Mediation Parties on a current basis and any unpaid portion will be

added to the amount of the secured creditor’s claim against its collateral. Such costs of

the Mediator are to be paid currently and need not await a sale or other disposition of

the collateral. The Mediation Parties shall otherwise each be responsible for their own

costs associated with the Mediation.

             6.     The Mediation shall commence after entry of this Order and not

end until successfully concluded, or terminated by this Court for cause shown,

including upon the Mediator declaring an impasse. If the Mediation ends in an impasse,

the matter will be heard as scheduled.

             7.     The Mediation shall be held based upon the availability of the

Mediator and the Mediation Parties. At the Mediator’s discretion, any in-person, video,


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or audio conference mediation session or any combination thereof (each, a “Mediation

Session”) may, in the Mediator’s discretion, include all or any portion of the Mediation

Parties. Thus, the Mediator may determine whether the Mediation Parties must appear

in person or whether video or audio meetings are more appropriate.

              8.     A representative(s) or individual designee(s) from each Mediation

Party with full authority to bind the institution for whom such principal acts, subject only

to necessary credit committee or other requisite internal approvals, shall attend each

scheduled Mediation Session; the selection of that representative or designee shall be

left to the discretion of each Mediation Party, provided the representative or designee is

acceptable to the Mediator. A Mediation Party may make a request to the Mediator

that it be excused from having a representative or designee attend any given Mediation

Session.

              9.     If the Mediator excuses a Mediation Party’s presence at a Mediation

Session, that Mediation Party must remain available to rejoin the Mediation upon the

request of the Mediator.

              10.    The Court considers a Mediation Party’s refusal to attend, through

its conclusion, a Mediation Session requested by the Mediator through an authorized

decision-maker to be an act that is not in good faith.

              11.    The Parties shall not (a) call or subpoena the Mediator as a witness

or expert in any proceeding relating to the Mediation, (b) subpoena any notes,


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documents or other material prepared by the Mediator in the course of, or in

connection with, the Mediation, or (c) offer into evidence any statements, views or

opinions of the Mediator.

              12.    The Mediation shall in all respects be non-binding and without

prejudice to any Mediator Party’s rights, claims, or defenses, unless the Mediation

Parties agree in writing to be so bound; provided however, that any settlement

agreement(s) reached through Mediation -- reduced to writing and signed -- shall be

binding as to each signatory in accordance with the terms of such written agreement,

subject, with respect to the Debtors, to the requirements of section 363(b) of the

Bankruptcy Code and Federal Rule of Bankruptcy Procedure 9019, and any other

provisions of the Bankruptcy Code, as applicable, and this Court will retain exclusive

jurisdiction to enforce any such settlement agreement(s).

              13.    Nothing in this Order preclude the Mediator from reporting to the

Court ex parte the status of the Mediation, or from complying with the obligations set

forth herein to report failures to attend or to participate in good faith. At the conclusion

of the Mediation, the Mediator shall file with the Court a report stating (a) that the

Mediator has conducted the Mediation; (b) the date or dates when the Mediation

occurred; (c) the names of the Mediation Parties, including counsel, advisors, and

principals thereto or thereof, who participated in the Mediation; (d) whether the

Mediator believes that the Mediation Parties complied with the Mediation procedures and


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participated in good faith; and (e) whether any settlements or agreements were

reached, and if so, the terms of such settlements or agreements.

              14.    To the maximum extent permitted by applicable law, the Mediator

and his/her agents shall have the same immunity as judges and court employees have

under federal law and the common law from liability for any act or omission in

connection with the Mediation, and from any compulsory process to testify or produce

documents in connection with the Mediation.

              15.    This Court retains exclusive jurisdiction to interpret, implement and

enforce the provisions of this Order.

              16.    Notwithstanding Bankruptcy Rule 6004(h), this Order shall be

effective immediately upon entry hereof.




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